1
                                                                           Hon. Philip H. Brandt
2                                                                          Chapter 7
3
4
5
6
7                                   UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF WASHINGTON
8
9        In re:                                               NO. 08-13473-PHB
10                                                            DECLARATION OF CONTINUED
         KAREN D. SMITH,
11                                                            ACCURACY OF SCHEDULES WITH
                                     Debtor.                  EXCEPTIONS
12
13
14                I, Karen D. Smith, state as follows:

15                1.        I am over eighteen years of age and of sound mind, and I make the
16       following statements based on personal knowledge and/or belief.
17
                  2.        On June 30, 2008 I filed the bankruptcy schedules in this case. At that
18
         time, I had filed the case under chapter 13 and it had yet to be converted to chapter 7.
19
20                3.        The documents comprising the Balance of Schedules remain true and
21       correct as of the date of this declaration, with the exception of Schedule I, Schedule J,
22       and the Summary of Schedules. I am filing herewith amended versions of such

23       schedules.

24                I declare under penalty of perjury that the foregoing is true and correct.
25
26                SIGNED in           Seattle      , WA on this    17th   day of June 2009.

27                                                           /s/ Karen D. Smith
28                                                           Karen D. Smith
                                                             PO Box 22417
29                                                           Seattle, WA 98122
          Declaration of Continued Accuracy of                             THE L AW OFFICES OF L ANCE L. L EE
          Schedules with Exceptions-1 of 1                                      1001 Fourth Avenue, Suite 3200
                                                                                    Seattle, WA 98154-1003
                                                                              (206) 332-9841 / Fax: (206) 374-2991



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Official Form 6 - Summary (10/06)


                                              United States Bankruptcy Court
                                                            Western District Of Washington
   In re     Karen D. Smith                                                                      Case No.              08-13473
                                  Debtor(s)
                                                                                                  Chapter               13

                                                       SUMMARY OF SCHEDULES
                                                        At Conversion to Chapter 7
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file a
case under chapter 7, 11, or 13.

                                                      ATTACHED
  NAME OF SCHEDULE                                                         NO. OF SHEETS                  ASSETS                 LIABILITIES                  OTHER
                                                       (YES/NO)

 A - Real Property                                        Yes                       1                  485,000.00

 B - Personal Property                                    Yes                       3                   23,360.00

 C - Property Claimed
    as Exempt
                                                          Yes                       1

 D - Creditors Holding                                                                                                          379,573.61
   Secured Claims
                                                          Yes                       1

 E - Creditors Holding Unsecured                                                                                                  28,212.63
    Priority Claims                                       Yes                       3
    (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                                                  22,418.32
    Nonpriority Claims                                    Yes                       2


 G - Executory Contracts and
   Unexpired Leases                                       Yes                       1


 H - Codebtors                                            Yes                       1

 I - Current Income of                                                                                                                                        4,200.00
     Individual Debtor(s)
                                                          Yes                       2

 J - Current Expenditures of Individual                                                                                                                       5,552.50
     Debtors(s)
                                                          Yes                       1


                                                 TOTAL                              16                 508,360.00               430,204.56




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Official Form 6 - Statistical Summary (10/06)


                                       United States Bankruptcy Court
                                                    Western District Of Washington
  In re    Karen D. Smith                                                             Case No.         08-13473
                              Debtor(s)
                                                                                       Chapter         13

   STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
10 1(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

         Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159. Summarize the
following types of liabilities, as reported in the Schedules, and total them.


  Type of Liability                                                      Amount
 Domestic Support Obligations (from Schedule E)                                     0.00
 Taxes and Certain Other Debts Owed to Governmental Units                   28,212.63
 (from Schedule E) (whether disputed or undisputed)

 Claims for Death or Personal Injury While Debtor Was                               0.00
 Intoxicated (from Schedule E)

 Student Loan Obligations (from Schedule F)                                         0.00
 Domestic Support, Separation Agreement, and Divorce Decree                         0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                        0.00
 Obligations (from Schedule F)

                                                             TOTAL          28,212.63

State the following:
 Average Income (from Schedule I, Line 16)                                      4,200.00
 Average Expenses (from Schedule J, Line 18)                                    5,552.50
 Current Monthly Income (from Form 22A Line 12; OR, Form                        1,470.83
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF
  ANY” column
                                                                                                  9,323.61

  2. Total from Schedule E, “AMOUNT ENTITLED TO
  PRIORITY” column.
                                                                                28,212.63

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
  PRIORITY, IF ANY” column
                                                                                                      0.00

  4. Total from Schedule F                                                                       22,418.32

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                   31,741.93




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Official Form 6I (10/06)

 In re       Karen D. Smith                                                                        Case No.        08-13473
                                     Debtor(s)                                                                                 (if Known)
                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 Debtor’s Marital Status:                                              DEPENDENTS OF DEBTOR OR SPOUSE
             Single              RELATIONSHIP(S):       None                                                 AGE(s):
 Employment:                                      DEBTOR                                                     SPOUSE
 Occupation                                       Real Estate Appraiser
 Name of Employer                                                                                            N/A
 How Long Employed                                19 Years
 Address of Employer                              PO Box 22417
                                                  Seattle, WA 98122


 INCOME: (Estimate of average or projected monthly income at
                                                                                      DEBTOR                             SPOUSE
         time case filed)
 1. Monthly gross wages, salary, and commissions (prorate if not
                                                                                $                 0.00             $                 0.00
    paid monthly)
 2. Estimate monthly overtime                                                   $                 0.00             $                 0.00

 3. SUBTOTAL                                                                    $                 0.00             $                 0.00

 4     LESS PAYROLL DEDUCTIONS
 a. Payroll taxes and social security                                           $                 0.00             $                 0.00
 b. Insurance                                                                   $                 0.00             $                 0.00
 c. Union Dues                                                                  $                 0.00             $                 0.00
 d. Other (Specify):         /                                                  $                 0.00             $                 0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                              $                 0.00             $                 0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                             $                 0.00             $                 0.00

 7. Regular income from operation of business or profession or farm
                                                                                $            4,200.00              $                 0.00
    (Attach detailed statement)
 8. Income from Real Property                                                   $                 0.00             $                 0.00
 9. Interest and Dividends                                                      $                 0.00             $                 0.00
 10. Alimony, maintenance or support payments payable to the
                                                                                $                 0.00             $                 0.00
     debtor for the debtor’s use or that of dependents listed above
 11. Social security or government assistance (Specify):                        $                 0.00             $                 0.00
         /
 12. Pension or retirement income                                               $                 0.00             $                 0.00
 13. Other monthly income
       (Specify):     /                                                         $                 0.00             $                 0.00
                      /                                                         $                 0.00             $                 0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                             $            4,200.00              $                 0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on
                                                                                $            4,200.00              $                 0.00
     lines 6 and 14)
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine
     column totals from line 15; if there is only one debtor repeat total                           $           4,200.00
     reported on line 15)


 17.     Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         No Substantial Changes Anticipated in Next 12 Months




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Official Form 6J (10/06)
  In re     Karen D. Smith                                                                          Case No.      08-13473
                                   Debtor(s)                                                                                  (if Known)

                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate.
   *        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                 $       4,423.50
   a. Are real estate taxes          Yes                                         No                 x
   i l d d?
   b. Is property insurance          Yes                                         No                 x
   i l d d?
2. Utilities:  a. Electricity and heating fuel                                                                                                        $         110.00
                 b. Water and Sewer                                                                                                                   $           50.00
                 c. Telephone                                                                                                                         $         260.00
             d.                                                                                                                                       $            0.00
      Oh
3. Home maintenance (repairs and upkeep)                                                                                                              $            0.00
4. Food                                                                                                                                               $         200.00
5. Clothing                                                                                                                                           $         100.00
6. Laundry and Dry Cleaning                                                                                                                           $            0.00
7. Medical and dental Expenses                                                                                                                        $           30.00
8. Transportation (not including car payments)                                                                                                        $         200.00
9. Recreation, clubs, entertainment, newspapers, magazines, etc.                                                                                      $            0.00
10. Charitable contributions                                                                                                                          $            0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
    a. Homeowner’s or renter’s                                                                                                                        $           71.00
    b. Life                                                                                                                                           $            0.00
    c. Health                                                                                                                                         $            0.00
    d. Auto                                                                                                                                           $         108.00
    e. Other                                                                                                                                          $            0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
    (Specify)                                                                                                                                         $            0.00
13. Installment payments (In chapter 11, 12, and 13 cases, do not list payment to be included in plan
    a. Auto                                                                                                                                           $            0.00
    b. Other                                                                                                                                          $            0.00
    c. Other                                                                                                                                          $            0.00
14. Alimony, maintenance, and support paid to others                                                                                                  $            0.00
15. Payments for support of additional dependents not living at your home                                                                             $            0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                      $            0.00
17. Other                                                                                                                                             $            0.00
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if applicable, on the Statistical
    Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
       No Substantial Changes Anticipated in Next 12 Months
20. STATEMENT OF MONTHLY NET INCOME
    a. Average monthly income from Line 15 of Schedule I                                                                                              $       4,200.00
    b. Average monthly expenses from Line 18 above                                                                                                    $       5,552.50
    c. Monthly net income (a. minus b.)                                                                                                               $     ($1,352.50)




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Official Form B6-Decl.
(10/05)


               In re     Karen D. Smith                                                               ,                                                 Case No.        08-13473
                                              Debtor                                                                                                                                     (If known)



                               DECLARATION CONCERNING DEBTOR’S SCHEDULES
                                          Amended Schedules I and J
                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                                                 4
                                                                                                                                                    (Total shown on summary page plus 1.)
 sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date June 17, 2009                                                                                                   Signature: /s/ Karen D. Smith
                                                                                                                                                                             Debtor
Date                                                                                                                 Signature:
                                                                                                                                                  (Joint Debtor, if any)
                                                                                                                           [If joint case, both spouses must sign.]
-------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. §§ 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.


Printed or Typed Name of Bankruptcy Petition Preparer                                         Social Security No.
                                                                                              (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.




Address
X
 Signature of Bankruptcy Petition Preparer                                                                                                   Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
---------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                 I, the              [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership] of the                                           [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have read
the foregoing summary and schedules, consisting of                                                            sheets, and that they are true and correct to the best of my
knowledge, information, and belief.                  (Total shown on summary page plus 1.)


Date
                                                                                                          Signature:


                                                                                                                             [Print or type name of individual signing on behalf of debtor.]
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
---------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and
3571.




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